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  9                       UNITED STATES DISTRICT COURT
 10                      CENTRAL DISTRICT OF CALIFORNIA
 11
       TODD ROSENSCHEIN               )        No. 5:16-cv-02102 FMO (DTBx)
 12                                   )
                      Plaintiff,      )        Hon. Fernando M. Oguin
 13                                   )
       vs.                            )        [PROPOSED] ORDER;
                                               ------------------
 14                                   )
       CITY OF MURIETTA, MURIETTA )
 15    POLICE OFFICERS MIKOWSKI, )
       SFORZINI, and DOES 1 to 15.    )
 16                                   )
                      Defendants.     )
 17    ______________________________ )
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                                  [PROPOSED] ORDER
Case 5:16-cv-02102-FMO-DTB Document 23 Filed 10/15/18 Page 2 of 2 Page ID #:89



  1          The Court is in receipt of Defendants’ request to lift the stay in this matter.
  2    After consideration of Defendants’ request, as a result of the resolution of the
  3    related criminal matter of People v. Rosenschein, Case No. SWF1600966
  4    (Riverside Cty. Super. Ct. 2016) and with GOOD CAUSE SHOWING:
  5
  6    IT IS HEREBY ORDERED:
  7
  8          1.     The stay in this matter is hereby lifted;
  9          2.     That Defendants shall file a responsive pleading within 21 days of the
 10                 signing of this order.
 11
 12    IT IS SO ORDERED.
 13
 14
 15            October 15
       DATED: ________________, 2018                          /s/
                                                     ______________________________
 16                                                  Honorable Fernando M. Olguin
 17                                                  United States District -------
                                                                            Court Judge
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                                      ----------------- ORDER
                                      [PROPOSED]
